                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

BARCADIA BAR & GRILL OF                      :
OF NEW ORLEANS, LLC                          :      CASE NO.: 2:23-cv-03125
                                             :
                      Plaintiff,             :
                                             :      DISTRICT JUDGE:
v.                                           :      ELDON E. FALLON
                                             :
INDEPENDENT SPECIALTY                        :      MAGISTRATE JUDGE:
INSURANCE COMPANY, CERTAIN                   :      JANIS VAN MEERVELD
UNDERWRITERS AT LLOYD’S AND                  :
OTHER INSURERS SUBSCRIBING                   :
TO BINDING AUTHORITY                         :
B6045568622021 CERTAIN                       :
UNDERWRITERS AT LLOYD’S -                    :
SYNDICATE 1458 AND                           :
RENAISSANCERE SPECIALTY                      :
U.S. LTD,                                    :
                                             :
                      Defendants.            :
                                             :

                                   NOTICE OF SUBMISSION

       PLEASE TAKE NOTICE that the Motion to Compel Arbitration, to Dismiss Claims

Against Defendants, or Alternatively, Stay Litigation Pending Arbitration, is hereby set for

submission before the Honorable Eldon E. Fallon, United States District Court, Eastern District of

Louisiana on the 27th day of September 2023 at 9:00 a.m.

Dated the 14th day of August, 2023. Respectfully submitted,

                                     By:      /s/ Shawn M. Brooks        __________________
                                             Chaunda “Shawn” M. Brooks (La. Bar No. 38607)
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                                             Attorney for Defendants
                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and accurate copy of the foregoing Notice of Submission

has been electronically filed with the Clerk of the Courts by using the ECF system, which will

send a notice of the electronic filing to the following. I further certify that upon notification from

the Clerk of the Court, a copy of the foregoing will be forwarded via U.S. Mail if a party is a non-

ECF participant.

       John W. Houghtaling, Esq.
       Skye S. Fantaci, Esq.
       Kevin R. Sloan, Esq.
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       Attorneys for Plaintiff



       SO CERTIFIED, this 14th day of August, 2023.




                                                      /s/ Shawn M. Brooks _____________
                                                      Chaunda “Shawn” M. Brooks




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